                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 SHAMIEKA PIERRE,                                §
                                                 §   Case No. 2:21-cv-01043-EEF-DPC
                Plaintiff,                       §
                                                 §   Judge Eldon E. Fallon
 v.                                              §   Division L
                                                 §
 WELLPATH, LLC, et al.,                          §   Magistrate Judge Donna P. Currault
                                                 §   Division 2
                Defendants.                      §


                                 NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that Defendant Sheriff Marlin N. Gusman (“Gusman”), through

undersigned counsel, has filed a motion to dismiss the claims against him brought by Plaintiff

Shamieka Pierre. Pursuant to Local Civil Rule 7.2, Defendant will submit this motion for decision

on October 13, 2021, at 9:00 a.m., or as soon thereafter as the Court’s docket permits, before the

Honorable Eldon E. Fallon, United States District Court for the Eastern District of Louisiana, 500

Poydras Street, Courtroom C468, New Orleans, Louisiana 70130.

       Respectfully submitted on this 27th day of September 2021,


                                             /s/ M. Rebecca Cooper
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